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COMMONWEALTH OF VIRGINIA
CIRCUIT COURT OF FAIRFAX COUNTY
4110 CHAIN BRIDGE ROAD
FAIRFAX, VIRGINIA 22030
703-691-7320
ene scum, (Press; Press 1)

Thomas A Ruth II vs. Target Corporation |
" CL-2011-0015831

TO: Target Corporation
D/b/a Target Stores Inc
R/A CT Corporation System
4701 Cox Rd Ste 301
Glen Allen VA 23060

SUMMONS - CIVIL ACTION

The party upon whom this summons and the attached complaint are served is hereby
notified that unless within 21 days after such service, response is made by filing in the’
Clerk’s office of this Court a pleading in writing, in proper legal form, the allegations and
charges may be taken as admitted and the court may enter an order, judgment or decree

against such party cither by default or after hearing evidence.
APPEARANCE IN PERSON IS NOT REQUIRED BY THIS SUMMONS.

Done in the name of the Commonwealth of Virginia, on Thursday, November 10, 2011.

.. JOHN T, FREY, CLERK

  

puty Clerk

Plaintiff's Attorney Laurence J. Tracy

EXHIBIT

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VIRGINIA: GIVE. INTAKE
IN THE CIRCUIT COURT OF FAIRFAX COUNTY 2011 Boy ~ “7p

THOMAS A. RUTH, YT.
11797 Grey Birch Place - -

JOHS 1 FREY
CLERA, cikcui COURT
Reston, VA 20191-4221

FAIR FAX, VA
Plaintiff,’ 5011-1 589i

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CASENO.

 

 

 

TARGET CORPORATION . ~
d/b/a Target Stores, Inc.

12197 Sunset Hills Road
Reston, VA-20190 -

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Defendant.

SERVE: __ Registered Agent”
. . CT Corporation System
4701 Cox Road.
Suite 301 a
Glen Allen, VA 23060
COMPL, |
COMES Now the Plaintiff, THOMAS A. RUTH, 0, (hereinafter referred to as
“Plaintiff” throughout) by and through counsel, LAURENCE J. TRACY, and moves this
Court for & judgment against the Defendant, TARGET CORPORATION, d/b/a Target

Stores, Inc., (hereinafter referred to as “Defendant” throughout and in stipport thereof

.- “States as “follows: “mnt meee wen oo eet etecw eee foes ~ anes - . tm ert fee

1. The Plaintiff i is an adult resident of the Commonwealth of ‘Virginia.

2.: The Defendant is a corporation orgurized and existing under the laws of the

State of Minnesota and duly authorized to conduct business in the Commonwéalth of

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Virginia. .

_3, Atall relevant times hereto, the Defendant has occupied, operated and controlled
certain business premises, specifically a retail store located at 12197 Sunset Hills Road,

" Reston, Virginia 20190. . 5 Gy

 

4—Ateall relevant-times hereto, the Defeadant has regularly conducted affairs or__
business activity and has been doing businéss at 12197 Sunset Hills Road, Reston, Virginia |
20190. : |

_5, On December 23, 2009, at approximeiey 6:50 p. m., the Plainti was a patron
and customer of the Defendant at Defendant’s store located at 12197 Sunset Hills Road,
Reston, VA'20190, a place of business to which the general public, and specifically the
Plaintiff is invited. i |

6. At about the same.time and location, the Plaintiff was injuted when he stepped |
onto the sidewalk from the parking area provided to the patrons we the Defendant, and
proceeded to slip ¢ on ice e left carelessly and negligently.

| 7. It was then and there a duty of the Defendant, its agents and employees, to use

ordinary care to maintain the premises ina reasonably safe condition for te invitee’s use
consistent with said invitation; to use ordinary care to‘make reasonable inspections of the

premises; t to use. ordinary care to warm invitees of any unsafe condition on the premises that

was herewith or by-the use of ordinary care should have been known to the Defendant, its’s
agents and employees; to remedy any unsafe conditions on the premises that was known or
by the use of ordinary care should have been known by the Defendant, its agents and

employees, to use ordinary care to provide, manage, train, and supervise employees so as to

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discharge all of. the prior stated duties, specifically with regard to the Plaintitt.
8. The Defendant i is liable for the negligent acts of its agents and employees acting
within the scope of their agency or employment.

9, .The Defendant, their agents and employees there and then breached those duties

ot care by failing to use ordinary care fo maintain the sidewall of the premisesina

 

 

 

reasonabie safe condition for the PlaintifP s use by failing to use ordinary care to’ make a
reasonable i inspection of the sidewalk, by failing to use ordinary care to warn Plaintiff of
the uiisafe condition of the sidewalk, a condition known, or by the use of ordinary care
should have been known, by the Defendant, it’s. agents and employees; by failing to remedy.
the unsafe conditions of the sidewalk, a condition known or by the use of ordinary care
should have been known by the Defendant, it’s agents and employees; and by failing to use
ordinary care to provide, manage, train, and supervise their agents and employees, so as to
discharge the foregoing duties.. | |

10. Asadirect and proximate result of Defendant’s negligence, the Plaintiff

suffered severe physical injuries requiring ongoing medical treatment; permanent injury;

" severe pain, suffering and mental anguish; incurred medical bills, lost wages, and other

| damages. - ‘

d lL. The negligence of the Defendant constituted a direct and | proximate cause of

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the unsafe conditions of the sidewalk, damages, and injuries suffered by the Plaintiff,

WHEREFORE the Plaintiff demands judgment against the Defendant for.

compensation of damages in the amount of Two Hundred Fifty Thousand Dollars

($250,000.00) plus interest from December 23, 2009, and costs and such other further.

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relief this cause may require.

THOMAS A. RUTH,
ona - By Counsel
LAURENCE). TRA!

VSB No. 30052
705 Park Avenue

 

Falls Church, VA.22046
703-536-7971 (tel)
703-536-7975 (fax)
LTRACYESQ@aol.coim

Counsel for Plaintiff

 

 

 
